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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  RICARDO VASQUEZ,                                   )
                                                     )
                                Plaintiff,           )
                                                     )
                       vs.                           )      No. 1:21-cv-01693-JMS-MG
                                                     )
  INDIANA UNIVERSITY HEALTH, INC.,                   )
  INDIANA UNIVERSITY HEALTH                          )
  BLOOMINGTON, INC., and                             )
  DANIEL HANDEL,                                     )
                                                     )
    Defendants.                                      )

                  FINAL JUDGMENT PURSUANT TO FED. R. CIV. P. 58

        For the reasons set forth in the Court's Order entered this day, the Court now enters FINAL

JUDGMENT as follows:

    •   Plaintiff's claims under the Sherman Act, 15 U.S.C. § 2, and the Clayton Act, 15 U.S.C. §

        18, are DISMISSED WITH PREJUDICE; and

    •   Plaintiff's state law claims for: (1) violations of Ind. Code § 24-1-2-2 and Ind. Code § 24-

        1-2-7 against IU Health and Bloomington Hospital; (2) breach of contract against

        Bloomington Hospital; and (3) defamation against all Defendants are DISMISSED

        WITHOUT PREJUDICE.

All pending motions are DENIED AS MOOT.




Date: 11/5/2021




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